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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA           )
                                   )
          v.                       )        Cr. No. 16-10236-MLW
                                   )
ROBERT M. PENA,                    )
     Defendant.                    )

                                 ORDER

WOLF, D.J.                                                 May 18, 2020


     The First Circuit has remanded this case to this court for

the limited purpose of implementing its May 15, 2020 Indicative

Ruling. See Dkt. No. 216. Accordingly, for the reasons stated at

the May 15, 2020 hearing, it is hereby ORDERED that the Bureau

of Prisons shall as promptly as possible again test defendant

Robert Pena for the COVID-19 virus and report the results as

promptly as possible to the court. If Pena again tests negative,

the court will modify his sentence to time-served, and order his

immediate release to home confinement on the terms stated in the

May 15, 2020 Order. See Dkt. No. 210.
